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IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
GENERAL CIVIL DIVISION

STEAMFITTERS LOCAL 449 PENSION &
RETIREMENT SECURITY FUNDS, On
Behalf of Itself and All Others Similarly
Situated,

Plaintiff,
vs.

QUALITY DISTRIBUTION, INC., THOMAS
L. FINKBINER, SAMUEL M. HENSLEY,
ANTHONY R. IGNACZAK, JOSHUA J.
HARRIS, MICHAEL D. WEINER, MARC J.
ROWAN, MARC E. BECKER, DONALD C.
ORRIS, CREDIT SUISSE FIRST BOSTON
LLC, BEAR, STEARNS & CO. INC. and
DEUTSCHE BANK SECURITIES INC.,

Defendants.

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Case No.

CLASS ACTION BSN H

COMPLAINT FOR VIOLATIONS OF THE

SECURITIES ACT OF 1933
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DEMAND FOR JURY TRIAL
EXHIBIT
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SUMMARY OF ACTION

1. This is a securities class action on behalf of all purchasers of the common stock of
Quality Distribution, Inc. (“‘Quality” or the “Company’) pursuant or traceable to Quality’s
November 6, 2003 Initial Public Offering (“IPO”), against Quality, certain of its
directors/officers and the lead underwriters of its IPO for violations of the Securities Act of 1933
(the “1933 Act”). Plaintiff pursues this action based upon theories of strict liability and
negligence only.

INTRODUCTION AND OVERVIEW OF ACTION

2. On November 6, 2003, Quality completed an IPO of 7,000,000 shares of stock at
$17 per share pursuant to a Registration Statement/Prospectus. The offering provided that
Quality would receive $110.67 million in net proceeds and the underwriters would receive $8.33
million.' In fact, the Registration Statement/Prospectus was materially false and misleading in
that the financial statements set forth in the Registration Statement/Prospectus overstated the
Company’s earnings and accounts receivables and understated its reserves.

3. Less than three months after the IPO, Quality issued a press release on February
2, 2004, after the market closed, which disclosed that the Company would take a fourth quarter
charge and restate its financial results for FY 2001-2002 and its results for the first three quarters

of 2003, materially reducing its operating income for the respective periods, after discovering

“Irregularities” at its insurance brokerage subsidiary, Power Purchasing Inc. (‘““PPI’’).

i The IPO prospectus also granted the underwriters a 30-day option to purchase up to an

additional 875,000 shares to cover any over-allotments.

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4. Quality’s stock price reacted swiftly and negatively to these revelations, falling
almost 16% to $15.75 on huge volume of 3.6 million shares (versus the previous full-day
average of 80,700 shares) — dropping below the offering price set just three months earlier.

5. Public investors who purchased shares in the IPO based on Quality’s
representations, paying $17 per share for Quality stock, have suffered tens of millions of dollars
in damages.

JURISDICTION AND VENUE

6. The claims alleged herein arise under §§11, 12(a)(2) and 15 of the 1933 Act, 15
U.S.C. §§77k, 77(1)(a)(2) and 770. Jurisdiction is conferred by §22 of the 1933 Act and venue is
proper pursuant to §22 of the 1933 Act. The statute (§22 of the 1933 Act) explicitly states that
“{tjhe district courts of the United States ... shall have jurisdiction ... concurrent with State and
Territorial courts” of actions filed under the 1933 Act. The statute also states that “{e]xcept as
provided in section 16(c), no case arising under this title and brought in any State court of
competent jurisdiction shall be removed to any court in the United States.” Section 16(c) refers
to “covered class actions,” which are defined as lawsuits brought as class actions or brought on
behalf of more than 50 persons asserting claims under state or common law. This is an action
asserting federal law claims. Thus, it does not fall within the definition of a “covered class
action” under §16(c) and therefore is not removable to federal court under the Securities
Litigation Uniform Standards Act of 1998.

7. The violations of law complained of herein occurred in this County, including the
dissemination of materially false and misleading statements complained of herein into this
County. Quality’s principal place of business is located in this County and each of the bank

defendants conduct business in this County.
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THE PARTIES

8. Plaintiff Steamfitters Local 449 Pension & Retirement Security Funds purchased
shares of Quality common stock pursuant and traceable to the Company’s Registration
Statement/Prospectus for its November 6, 2003 IPO and was damaged thereby.

9. Defendant Quality is a Florida Corporation with its corporate headquarters located
in Tampa, Florida. Quality operates a large bulk tank-truck network in North America. The
Company transports a broad range of chemical products and provides its customers with value-
added services, including intermodal, transportation management, transloading, tank cleaning,
dry-bulk hauling, leasing and other logistics services. Quality extensively utilizes third-party
affiliate terminals and owner-operator drivers in its core bulk service network. PPI, Quality’s
wholly owned subsidiary consolidated in its financial results, operates as an insurance broker,
assisting independent contractors in obtaining various lines of insurance. Many of PPI’s clients

are truck owners/operators and independent contractors, whom drive for Quality’s distribution
business. Quality’s common stock traded in an efficient market on the NASDAQ National
Market System during the Class Period.

10. | Defendant Thomas L. Finkbiner (“Finkbiner”) was the Chairman of the Board,
President and Chief Executive Officer of Quality. Finkbiner signed the false and misleading
Registration Statement issued pursuant to the Company’s IPO.

11. Defendant Samuel M. Hensley (“Hensley”) was the Senior Vice President and the
Chief Financial Officer of Quality. Hensley signed the false and misleading Registration
Statement issued pursuant to the Company’s IPO.

12. Defendant Anthony R. Ignaczak (“Ignaczak”) was a director of Quality. Ignaczak

signed the false and misleading Registration Statement issued pursuant to the Company’s IPO.
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13. Defendant Joshua J. Harris (“Harris”) was a director of Quality. Harris signed the
false and misleading Registration Statement issued pursuant to the Company’s IPO.

14. Defendant Michael D. Weiner (“Weiner”) was a director of Quality. Weiner
signed the false and misleading Registration Statement issued pursuant to the Company’s IPO.

15. Defendant Marc J. Rowan (“Rowan”) was a director of Quality. Rowan signed
the false and misleading Registration Statement issued pursuant to the Company’s IPO.

16. Defendant Marc E. Becker (“Becker”) was a director of Quality. Becker signed
the false and misleading Registration Statement issued pursuant to the Company’s IPO.

17. Defendant Donald C. Orris (“‘Orris”) was a director of Quality. Orris signed the
false and misleading Registration Statement issued pursuant to the Company’s IPO.

18. Collectively, defendants Finkbiner, Hensley, Ignaczak, Harris, Weiner, Rowan,
Becker and Orris will be referred to herein as the “Individual Defendants.”

19. Defendants Credit Suisse First Boston LLC, Bear, Stearns & Co. Inc. and
Deutsche Bank Securities Inc. (collectively the “Underwriter Defendants’’) are investment
banking firms which specialize, inter alia, in underwniting public offerings of securities. These
firms served as co-lead underwriters of the Quality IPO in which they sold millions of shares of
Quality stock to the public at an artificially inflated price and for which they received a
significant portion of the money raised in the IPO. Because of their close association with
Quality, the Underwriter Defendants had constant access to Quality’s internal corporate
information.

20. _ Each of the defendants named in 910-17 (the “Individual Defendants”)
participated in the IPO by, among other things, preparing, reviewing and signing the Registration

Statement.
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SUBSTANTIVE ALLEGATIONS
21. On November 6, 2003, the defendants completed a 7,000,000 share IPO of

Quality stock priced at $17 per share, with net proceeds to Quality of $110.67 million.

22. The November 6, 2003 IPO was accomplished via a Registration Statement and
Prospectus filed with the SEC and effective on November 6, 2003. Each Individual Defendant
signed the Registration Statement. The Underwriter Defendants wrote the Registration
Statement and Prospectus. The Registration Statement/Prospectus contained Quality’s audited
GAAP consolidated financial statements for fiscal years ending December 31, 2001 and
December 31, 2002 and Quality’s unaudited financial information for the nine months ending
September 30, 2003.

23. Quality included operating results for the year ending December 31, 2001 as
follows: operating income of $28.3 million and a net loss of ($13.4) million.”

24. Quality included operating results for the year ending December 31, 2002 as

follows: operating income of $27.3 million and a net loss of ($45.1) million.

2 Quality’s financial information for the year ending December 31, 2001 included in the

Registration Statement/Prospectus contained restated financial statements for the year. The
Registration Statement/Prospectus contained the following reasoning for the restatement of the 2001
financial statements:

The consolidated financial statements as of and for the year ended December 31,
2001 have been restated to reflect corrections ofa clerical error in recording revenues
and establishing a reserve for incurred but not reported insurance losses relating to a
subsidiary that markets insurance products. These corrections resulted in an increase
in net loss of approximately $1 million, an increase of claims loss reserves of $0.1
million and reduction in long term receivables of $0.9 million.

In addition, we reclassified our insurance subsidiary’s premium revenue and
insurance loss expenses to a gross basis versus a net basis for 2000 and 2001. The
impact of those reclassifications increased both other service revenue and insurance
claims expense by $3.1 million and $2.4 million for 2000 and 2001, respectively.

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25. Quality included operating results for the nine months ending September 30, 2003
as follows: operating income of $30.2 million and a net income of $6.4 million.

26. In fact, these results were materially false and misleading, as Quality has since
admitted.
Quality’s Restatement of Its Financial Results

27. On February 2, 2004, after the market closed, the Company issued a press release
entitled “Quality Distribution Reports Irregularities at Non-Core Insurance Brokerage
Subsidiary; Company Will Take Fourth Quarter Charge and Restate Results.” The press release
stated in part:

Quality Distribution, Inc. announced today that it has discovered irregularities at
Power Purchasing, Inc. (“PPY’), a non-core subsidiary. PPI primarily assists
independent contractors in obtaining various lines of insurance for which PPI
derives fees as an insurance broker.

The Company said that its investigation to date indicates that the irregularities
resulted from unauthorized actions by PPI’s former manager. The former
manager failed to renew certain insurance policies for PPI’s customers yet
continued to collect premiums in violation of insurance laws. The former
manager concealed these activities from the Company. Based on the investigation
to date, the former manager appears to have been the only person engaged in
these irregularities, which were limited to PPI.

The Company has notified the Insurance Department of the State of Pennsylvania,
where PPI is domiciled and has contacted, or is contacting, other appropriate
regulatory agencies. The Company is in the process of streamlining PPI’s
operations and a risk management executive, who is a member of Quality
Distribution’s senior management, is now managing PPI.

Financial Impact

The investigation was initiated by the Company’s internal audit department and is
currently being conducted by the Audit Committee of the Board of Directors with
the assistance of outside legal counsel and a forensic accounting firm. The results
of the investigation conducted to date also indicate various accounting
irregularities at PPI, all related to the activities of the same former manager.
Specifically, PPI’s former manager recorded improper receivables and deposits
Srom third parties and failed to set up adequate reserves for claims during the
periods that PPI’s customers were not insured by third parties.

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The accounting and insurance issues will result in a restatement in Quality
Distribution’s unaudited financial statements for the nine months ended
September 30, 2003, as well as its audited financial statements for the years ended
December 31, 2002 and 2001. The total reduction to operating income is expected
to be approximately $10 million for the time period prior to 2003 and
approximately $6 million for the nine months ended September 30, 2003. A
portion of the total reduction to operating income will not impact the Company’s
operating results for periods subsequent to 2003. Approximately two-thirds of the
restatement adjustment is expected to consist of non-cash charges.

The Company also expects to incur charges in the fourth quarter ended December
31, 2003, in connection with insurance regulatory issues arising from the
irregularities at PPI and expects to incur additional expenses in 2004 relating to
the investigation. The Company currently estimates these amounts, after giving
effect to potential recoveries, to be approximately $3 million to $6 million, which
will be paid starting in 2004.

The Company currently anticipates reporting audited 2003 results and prior year
restatements on a timely basis in accordance with its periodic filing requirements.
Fourth quarter 2003 revenues before fuel surcharges are expected to be up
approximately 10% compared to the fourth quarter of 2002. Fourth quarter net
income will be impacted by the events at PPI and various non-recurring expenses,
primarily related to the initial public offering.
The above amounts remain subject to change pending completion of the
investigation and the audit of the Company’s financial! statements, which is
currently in process.
The Financial Results Were Presented in Violation of GAAP
28. Each of the statements relating to Quality’s financial results made in the
November 6, 2003 Registration Statement/Prospectus was false or misleading when issued. The
true but concealed facts at the time of the IPO were as follows:

(a) Quality’s operating income for the years 2001 and 2002 were overstated
by approximately $10 million (Quality originally reported a net loss for the periods of ($58.5)
million);

(b) Quality’s operating income for the nine months ending September 30,
2003 was overstated by approximately $6 million (Quality originally reported net income for the

period of $6.4 million);
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(c) Quality’s receivables were overstated as receivables had been improperly
recorded on PPI’s books; and

(d) Quality’s reserves were understated as PPI had failed to set up reserves for
claims during the period customers were not insured by a third party.

29. As Quality has now publicly admitted, prior to its IPO, defendants caused the
Company to report incorrect financial results in violation of GAAP.

30. GAAP are those principles recognized by the accounting profession as the
conventions, rules and procedures necessary to define accepted accounting practice at a
particular time. SEC Regulation S-X (17 C.F.R. §210.4-01(a)(1)) states that financial statements
filed with the SEC which are not prepared in compliance with GAAP are presumed to be
misleading and inaccurate, despite footnotes or other disclosures. Regulation S-X requires that
interim financial statements must also comply with GAAP, with the exception that interim
financial statements need not include disclosure which would be duplicative of disclosures
accompanying annual financial statements. 17. C.F.R. §210.10-01(a).

31. The fact that Quality will restate its financial results is an admission that the
financial statements originally issued and included in the Registration Statement/Prospectus were
false and that the overstatement of income was material. Pursuant to GAAP, as set forth in
Accounting Principles Board Opinion (“APB”) No. 20, the type of restatement announced by
Quality was to correct for material errors in its previously issued financial statements. See APB
No. 20, 47-13. The restatement of past financial statements is a disfavored method of
recognizing an accounting change as it dilutes confidence by investors in the financial
statements, and makes it difficult if not impossible to generate the numbers when restatement
occurs. See APB No. 20, 914. Thus, GAAP provides that financial statements should only be
restated in limited circumstances, i.e., when there is a change in the reporting entity, there is a

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change in accounting principles used or to correct an error in previously issued financial
statements. Quality’s restatement was not due to a change in reporting entity or a change in
accounting principle, but rather to errors in previously issued financial statements. Thus, the
restatement is an admission by Quality that its previously issued financial results included in its
IPO Registration Statement/Prospectus were false.

32. Due to these accounting improprieties, the Registration Statement/Prospectus
presented the Company’s financial results and statements in a manner which violated GAAP,
including the following fundamental accounting principles:

(a) ‘The principle that interim financial reporting should be based upon the
same accounting principles and practices used to prepare annual financial statements was
violated (APB No. 28, 410);

(b) The principle that reporting should provide information that is useful to
present and potential investors and creditors and other users in making rational investment, credit
and similar decisions was violated (FASCON No. 1, (34);

(c) The principle that financial reporting should provide information about the
economic resources of an enterprise, the claims to those resources, and effects of transactions,
events and circumstances that change resources and claims to those resources was violated
(FASCON No. 1, $40);

(d) The principle that financial reporting should provide information about
how management of an enterprise has discharged its stewardship responsibility to owners
(stockholders) for the use of enterprise resources entrusted to it was violated. To the extent that
management offers securities of the enterprise to the public, it voluntarily accepts wider
responsibilities for accountability to prospective investors and to the public in general

(FASCON, No. 1, $50);
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(e) The principle that financial reporting should provide information about an
enterprise’s financial performance during a period was violated. Investors and creditors often
use information about the past to help in assessing the prospects of an enterprise. Thus, although
investment and credit decisions reflect investors’ expectations about future enterprise
performance, those expectations are commonly based at least partly on evaluations of past
enterprise performance (FASCON No. 1, $42);

(f) The principle that financial reporting should be reliable in that it
represents what it purports to represent was violated. That information should be reliable as well
as relevant is a notion that is central to accounting (FASCON No. 2, 4958-59);

(g) The principle of completeness, which means that nothing is left out of the
information that may be necessary to insure that it validly represents underlying events and
conditions was violated (FASCON No. 2, 479); and

(h) =‘ The principle that conservatism be used as a prudent reaction to
uncertainty to try to ensure that uncertainties and risks inherent in business situations are
adequately considered was violated. The best way to avoid injury to investors is to try to ensure
that what is reported represents what it purports to represent (FASCON No. 2, 495, 97).

33. Further, the erroneous financial information presented by defendants in the
Prospectus and Registration Statement is the type of information which, because of SEC
regulations, regulations of the national stock exchanges and customary business practice, is
expected by investors and securities analysts to be disclosed and is known by corporate officials
and their legal and financial advisors to be the type of information which is expected to be and

must be disclosed.

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CLASS ALLEGATIONS

34. Plaintiff brings this action as a class action pursuant to Rule 1.220 of the Florida
Rules of Civil Procedure on behalf of all persons who purchased the common stock of Quality
pursuant to the November 6, 2003 IPO (the “Class”). Excluded from the Class are each of the
defendants, members of their families and any entity in which a defendant has an interest.

35. The Class is composed of numerous residents of Florida, as well as persons
dispersed throughout the United States, the joinder of whom is impracticable. The disposition of
their claims in a class action will provide substantial benefits to the parties and the Court. There
were more than 7 million shares of Quality stock offered by defendants through the IPO on
November 6, 2003, with shares owned by thousands of shareholders.

36. There is a well defined community of interest in the questions of law and fact
involved in this case. The questions of law and fact which predominate over questions which
may affect individual Class members include the following:

(a) Whether defendants misrepresented material facts in the Registration
Statement;

(b) Whether defendants’ statements omitted material facts necessary to make
the statements made, in light of the circumstance under which they were made, not misleading;

(c) Whether defendants knew or should have known that their statements
were false and misleading;

(d) Whether defendants violated the 1933 Act,

(e) The extent of damage sustained and the appropriate measure of damages;
and

(f) Whether plaintiff and members of the Class are entitled to rescission,

constructive trust and/or any equitable relief.

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37. Plaintiff's claims are typical of those of the Class because plaintiff and the Class
sustained damages from defendants’ wrongful conduct.

38. Plaintiff will adequately protect the interest of the Class and has retained counsel
who are experienced in class action securities litigation. Plaintiff has no interests which conflict
with those of the Class.

39. The class action is superior to other available methods for the fair and efficient
adjudication of this controversy.

40. The prosecution of separate actions by individual Class members would create a
risk of inconsistent and varying adjudications.

FIRST CAUSE OF ACTION

For Violation of Section 11 of the 1933 Act
Against All Defendants

41. Plaintiff incorporates and realleges each and every allegation contained in the
foregoing paragraphs as if fully set forth herein. For purposes of this Cause of Action, plaintiff
expressly excludes and disclaims any allegation that could be construed as alleging fraud or
intentional or reckless misconduct, as this claim is based solely on claims of strict liability and/or
negligence under the 1933 Act.

42. As the issuer of the securities, Quality is strictly liable to plaintiff for the
misstatements and omissions contained in the Registration Statenient.

43. The Individual Defendants were officers or directors of Quality and each signed
the Registration Statement.

44. _ Each of the defendants (other than Quality) owed to the purchasers of the Quality
stock, including plaintiff, the duty to make a reasonable and diligent investigation of the
statements contained in the Registration Statement at the time it became effective, to ensure that

they were true and that there was no omission to state a material fact required to be stated in
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order to make the statements contained therein not misleading. In the exercise of reasonable
care, defendants knew or should have known of the material misstatements and omissions
contained in the Registration Statement.

45. Despite these “‘red flags,” and others, the signers of the Registration Statement
failed to adequately investigate these items. A reasonable investigation would have revealed the
falsity of the Registration Statement.

46. None of the defendants named in this Cause of Action (not including Quality)
made a reasonable investigation or possessed reasonable grounds for the belief that the
statements contained in the Registration Statement were true and did not omit any material facts
and were not misleading.

47. The defendants caused to be issued and participated in the issuance of materially
false and misleading statements in the Registration Statement, which misrepresented or failed to
disclose, inter alia, the adverse facts set forth above. Thus, defendants violated §11 of the 1933
Act.

48. Plaintiff purchased Quality stock traceable to the false and misleading
Registration Statement without knowledge of the untruths or omissions alleged herein. Plaintiff
could not have reasonably discovered the nature of these defendants’ untruths and omissions.

49. _ As a result of its purchases of Quality stock, plaintiff has suffered damages.

50. This action was brought within one year after the discovery of the untrue
statements and omissions and less than three years after the IPO.

SECOND CAUSE OF ACTION

For Violations of Section 12(a)(2) of the 1933 Act
Against All Defendants

51. Plaintiff repeats and realleges the allegations set forth above as if set forth fully

herein. For purposes of this Cause of Action, plaintiff expressly excludes and disclaims any
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allegation that could be construed as alleging fraud or intentional or reckless misconduct, as this
claim is based solely on claims of strict liability and/or negligence under the 1933 Act.

52. By means of the defective Registration Statement, defendants assisted in sale of
shares of the Company’s stock to plaintiff and other members of the Class.

53. The Registration Statement contained untrue statements of material fact, and
concealed and failed to disclose material facts, as detailed above. Defendants owed plaintiff and
the other members of the Class who purchased Quality stock pursuant to the Registration
Statement the duty to make a reasonable and diligent investigation of the statements contained in
the Registration Statement to ensure that such statements were true and that there was no
omission to state a material fact required to be stated in order to make the statements contained
therein not misleading. Defendants, in the exercise of reasonable care, should have known of the
misstatements and omissions contained in the Registration Statement as set forth above.

54. _ Plaintiff did not know, nor in the exercise of reasonable diligence could have
known, of the untruths and omissions contained in the Registration Statement and Prospectus at
the time it acquired the Company’s stock.

55. | By reason of the conduct alleged herein, defendants violated §12(a)(2) of the
1933 Act. As a direct and proximate result of such violations, plaintiff and the other members of
the Class who purchased Quality stock pursuant to the Registration Statement sustained
substantial damages in connection with their purchases of Quality securities. Accordingly,
plaintiff and the other members of the Class who hold Quality securities pursuant to the
Registration Statement have the right to rescind and recover the consideration paid for their
shares, and hereby tender their shares to the defendants sued herein. Class members who have

sold their shares seek damages to the extent permitted by law.

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THIRD CAUSE OF ACTION

For Violations of Section 15 of the 1933 Act
Against the Individual Defendants

56. Plaintiff repeats and realleges the allegations set forth above as if set forth fully
herein. For purposes of this Cause of Action, plaintiff expressly excludes and disclaims any
allegation that could be construed as alleging fraud or intentional or reckless misconduct, as this
claim is based solely on claims of strict liability and/or negligence under the 1933 Act.

57. Each of the Individual Defendants was a controlling person of the Company
within the meaning of §15 of the 1933 Act at the time of the Offering. At the time the
Registration Statement was filed with the SEC and declared effective, each of the Individual
Defendants had the power and authority to cause the Company to engage in the wrongful
conduct complained of herein.

58. None of the Individual Defendants made a reasonable investigation or possessed
reasonable grounds for the belief that the statements contained in the Registration Statement
were true and devoid of any misstatements or omissions of material fact. Therefore, by reason of
their positions of control over the Company, as alleged herein, each of the Individual Defendants
is liable jointly and severally with and to the same extent that Quality is liable to plaintiff and the
other members of the Class as a result of the wrongful conduct alleged herein.

PRAYER FOR RELIEF
WHEREFORE, plaintiff prays for judgment as follows:

A. Awarding plaintiff rescission or damages;

B. Awarding plaintiff pre-judgment and post-judgment interest, as well as reasonable

attorneys’ fees, expert witness fees and other costs;

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C. Awarding plaintiff such equitable relief, including preliminary and/or permanent
injunctive relief, to freeze or prevent the disposition of the assets of the defendants as necessary
to preserve and protect plaintiffs rights to recover; and

D. Awarding such other legal or equitable relief as this Court may deem just and
proper.

JURY DEMAND

Plaintiff demands a trial by jury.

DATED: March 25, 2004 MILBERG WEISS BERSHAD
HYNES,& LERACH LLP

Eos —_——

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IN THE CIRCUFT COURT OF THE THIRTEENTH JUDICIAL
CIRCUIT IN AND FOR HILLSBOROUGH COUNTY, FLORIDA . -
GENERAL CIVIL DIVISION

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NEROB ANY ACOOMMODATION IN ORDER TO

PARTICIPATE IN THIS PROCEEDING YOU Ane -

vs QNTITLED, AT NO GOST TO YOU, TO THE :

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Samuel M. Hensley, Ant an ' CIRCUIT CIVIC DIVISION; RQOM ate, :

:J. Faris, Michael D. Welner HILLEBOROUGH SeenvED :

Merc J, Rowan, Mare E. Becker, Donald C. Orris, RENCE a TAA. A

Go. inc. And Deutsche Bank Securities Inc. HEARS WAIRED OR VON mare
DEFENDANT/RESPONDENT CALL 1-400-4854771,

SUMMONS -

THE STATE OF FLORIDA: __“HPPONTED FR :

TO EACH SHERIFF OF THE STATE: "yb crROUIT /

YOU ARE COMMANDED to serve this summons and acopyofthe complaintor petitioninthisaction

on the defendant(s).
Sez Largo pores Beck Brive

Each defendant is required to serve ramp, Pie 2960 complaint or petition on plaintiffs attomey,

whose name and address |s:
M Miers Wein Welss Borshed oo Tee B00 & Lerach LLP

365 Town Center R
within 20 days after service oft his summon et int, exclusive of the day of service, and to file the

original of the defenses with the clerk ofthis courteither before service on plaintiffs attomey or Immediately
thereafter. if a defendant fails to do so, a default wil be entered against that defendant for the rellef
demanded In the complaint or petition.
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JP Clerk of the Court

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EXHIBIT

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UNITED STATES DISTRICT COURT . ,
MIDDLE DISTRICT OF FLORIDA sien
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ANDREW MEIGS, Individually and On Bebalfof All

Others Simi Situsted, : ACTION
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Plaintiff, :
* CLASS ACTION
vB, ° COMPLAINT
. FOR VIOLATIONS OF
QUALITY DISTRIBUTION, INC,, THOMAS L. ’ FEDERAL SECURITIES
FINKBINER snd SAMUBL M. HENSLEY, ! LAWS
Defendants. x
PLAINTIFF'S CLASS ACTION COMPLAINT

Plaintiff makes the following allegations, except as to allegations specifically pertaining
to plaintiff and plaintiff's counsel, based upon the investigation undertaken by plaintiff's counsel,
which investigation included analysis of publicly-available news articles and reports, public
filings, securities analysts’ reports and advisories about Quelity Distribution Inc. (“Quality
Distribution” or the “Company”), press releases and other public statements issued by the
Company, and media reports about the Company and believes that substantial additions)
evidentiary support will exist for the allegations set forth herein after a reasonable opportunity for
discovery.

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BATURE OF THE ACTION

1. This is a federa! securities class action on behalf of a class (the “Cinss"’) consisting
of all persons other than defendants who purchased the common stook of Quality Distribution
between November 7, 2003 and February 2, 2004, seeking to pursue remedies under the
Securities Act of 1933 (the “Securities Act”), This action concems the initial public offering of
Quality Distribution common stock which took place on or about November 7, 2003 (the “IPO”).

EURISDICTION AND VENUE

2. The claims asserted berein arise under and pursuant to Sections 11 and 15 of the
Securities Act [15 U.S.C. §§ 77k, 771(2) and 770).

3. This Court has jurisdiction of this action pursuant to Section 22 of the Securities
Act (15 U.S.C. § 77v] and 28 U.S.C. § 1331.

4. Venue is properly lald in this District purauant to Section 22 of the Securities Act
and 28 U.S.C. § 1391(b) and (c). The acts and conduct complained of herein occurred in
substantial part {n this District and Quality Distribution maintains its principal place of business
in this District.

5. In connection with the acts and conduot alleged in this Complaint, defendants,
directly or indirectly, used the means and instrumentalities of interstate commerce, including the
mails and telephonic communications and the facilities of the NASDAQ National Market (the
“NASDAQ"), 8 national securities exchange,

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PARTIES
6. Pisintiff Andrew Meigs purchased Quality Distribution common stock, as set

forth in the certification attached hereto and incorporated herein by reference, traceable to the
Company's IPO, and was damaged thereby,

7. Defendant Quality Distribution is a Florida corporation and maintains ita principal
executive offices at 3802 Corporex Park Drive Tampa, Florida 33619, Quality Distribution
transports a broad range of chemical products and also provides transportation management,
transloading, tank cleaning, dry-bulk handling and other logistical services.

8. (1) Defendant Thomas L. Finkbiner (“Finkbiner™) was, at ali relevant times,
President and Chief Executive Officer of Quality Distribution. Finkbiner signed the Registration
Statement.

(2) Defendant Samuel M. Hensley (“Hensley”) was, at al] relevant times,
Senlor Vice President and Chief Financial Officer of Quality Distribution. Hensley signed the
Registration Statement.

(3) Defendants Finkbiner and Henaley are collectively referred to herein as the
“Individual Defendants.”

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PLAINTIFES CLASS ACTION ALLEGATIONS
9. Plaintiff brings this ection as a class action pursuant to Federa! Rules of Civil

Procedure 23(a) and 23(6)(3) on behalf of itself and all persons other than defendants who
purchased the securities of Quality Distribution between November 7, 2003 and February 2,
2004. Excluded from the Claas are defendants herein, members of the immediate family of each
of the defendants, any person, firm, trust, corporation, officer, director or other individual or
entity in which eny defendant bas a controiling interest or which iy related to or affiliated with
any of the defendants, and the legal representatives, agents, affiliates, heirs, successors-in-interest
or assigns of any such excluded party.

10. The members of the Class are so numerous that joinder of al] members is
impracticable. Quality Distribution sold more than 7 million shares of Quality Distribution
common stock in the IPO. The precise number of Class members is unknown to plaintiff at this
time but is believed to be in the thousands. In addition, the names and addresses of the Class
members can be ascertained from the books and records of Quality Distribution or its transfer
agent or the underwriters to the IPO. Notice can be provided to such record owners by s
combination of published notice and first-class mail, using techniques and a form of notice
similar to those customarily used in class actions arising under the federal securitics laws.

11. Plaintiff will fairly and adequately represent and protect the interests of the
members of the Class. Plaintiff has retained competent counsel experienced in class action
litigation under the federal securities laws to further ensure such protection and intends to
prosecute this action vigorously,

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12. Plaintiff's claims are typicel of the claims of the other mombers of the Class
because plaintiff's and all the class members! damages arise from and were caused by the same
false and misleading representations and omissions made by or chargeable to defendants.
Plaintiff does not have any interests antagonistic to, or in conflict with, the Cinss,

13. Acilass action is superior to other svailsble methods for the fair and officient
adjudication of this controversy. Since the damages suffered by individual class members may
be relatively small, the expense and burden of individual litigation make it virtually impossible
for the class members to sock redress for the wrongful conduct alleged. Plaintiff knows of no
difficulty that will be encountered in the management of this litigation that would preclude its
maintenance as a class action.

14. Common questions of law and fact exist as to all mombers of the Class and
predominate over any questions affecting solely individual members of the Class. Among the
questions of law and fact common to the Class are:

(a) Whether the federal securities laws were violated by defendants’ acts as
alleged beraln;

(b) Whether the prospectus and registration statement issued by defendants to
the investing public in connection with the IPO omitted and/or misrepresented materia) facts
about Quality Distribution and its business; and

(c) The extent of injuries sustained by members of the Class and the

appropriate measure of damages.

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15. Quality Distribution transports s broad range of chemical products and also
provides transportation management, transloading, tank cleaning, dry-bulk handling and other
Ipgistical services.

16. On or about Novamber 5, 2003, Quality Distribution filed with the SEC a Form §-
1/A Registration Statement (the “Registration Statement”), for the IPO.

{7. On or about November 7, 2003, the prospectus (the “Prospectus™) filed in
connection with the IPO, which forms part of the Registration Statement, became effective and
7,000,000 of Quality Distribution's shares were sold to the public, thereby raising approximately
$110.7 million.

18. That same day, Quality Distribution issued a press release announcing the [PO and
indicating that it had granted the underwriters for the IPO an option to purchase up to an - 4
additional 875,000 shares of its common stock to cover over-allotments.

19. As described below in (21, the Prospectus issued in connection with the PO was
materially false and misleading.

20. The Prospectus contained audited financial statements for the fiscal years 2000
through 2002, both ending on December 31 and for the nine months ending September 30, 2003.
For the fiscal year ended December 31, 2001, the Company reported revenues of $510.7 million
and a net loss of $13.4 million. For the flecal year ended December 31, 2002, the Company

reported revenues of $316.5 million and s net loss of $45.1 million. For the nine months ending

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September 30, 2005, the Company reported revenues of $426.3 million and net income of $6.4
million.

21. The statements referenced above in § 20 wore materially false and misleading
because Quality Distribution materially overstated its financial results and its financial statements
were not prepared in accordance with Generally Accepted Accounting Principles (“GAAP”).

22. On February 2, 2003, the Company announced that it expected to take «
fourth-quarter charge and restate its results beck to 2001 after discovering inaurance law
violations at Power Purchasing Inc. (“PPI”), one of its subsidiaries. The Company expects to take
fourth-quarter 2003 charges of between $3 million and $6 million and it forecast net income for
the same period would be negatively impacted by the problems at the subsidiary, along with —
other one-time expenses.

23. According to media reports following the announcement, the Company's former
manger of its PPI subsidiary “effectively brokered to customers nonexistent insurance coverage."
The former employes paid claims through the Company directly instead of through an insurer in
violation of state insurance regulations. The former manager also failed to renew certain
insurance policies for PPT's customers yet continued to collect premiums. In a press release
entitled “Quality Distribution Reports Irregularities at Non-Coro Insurance Brokerage Subsidiary,
Company Will Take Fourth Quarter Charge and Restate Results ,“ the Company stated, in
pertinent part, that:

The investigation was initiated by the Company's internal audit department and is

currently being conducted by the Audit Committes of the Board of Directors with

the assistance of outside legal counse! and 8 forensic accounting firm. The results

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of the investigation cendusted te date alse indicate various accounting
irregularities at FT ti related to the acxities of the same ne forruer manager.

The accounting and insurance issues will result in a restatement in Quality
Distribution's unaudited financial statements for the nine months ended September
OE eet an eudited financial statements for the years ended December

tember 30 CACO
aE ent note lla tact toe Companys operating results fo
periods subsequent to 2003. Approximately two-thirds of the restatement
adjustment is expected to consist of non-cash charges.

The Company also expects to incur charges in the fourth quarter ended December
31, 2003, in connection with insurance regulatory issues arising from the
irregularities at PP! and expects to incur additional expenses in 2004 relating to
the investigation. The Company currently estimates these amounts, after giving
effect to potential recoveries, to be approximately $3 million to $6 million, which
will be paid starting in 2004.

Ths Company currently anticipates reporting audited 2003 results and prior year
festatements on a timely basis in accordance with its periodic filing requirements.
Fourth quarter 2003 revenues before fuel surcharges are expected to be up
approximately 10% compared to the fourth quarter of 2002. Fourth quarter net
income will be impacted by the events at PPI and various non-recurring expenses,
primarily related to the initial public offering.

The above amounts remain subject to change pending completion of the
investigation and the sudit of the Company's financial statements, which is

currently in process. [Emphasis added.)
24. <Atthe time of the filing of this complaint, the price of Quality Distribution

common stock is $14.681 per share.

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COUNT J
Against All Defesdants For Violstious
Of Section 11 Of The Securities Act

25. Plaintiff repeats and realleges each and every allegation contained sbove.

26. This Count is brought pursuant to Section 11 of the Securities Act, 15 U.S.C.
§ 77k, on behalf of the Class, against all defendants.

27. ‘The Registration Statement for the IPO was inaccurate and misleading, contained
untrue statements of materis! facts, omitted to state other facts necessary to make the statements
made not misleading, and concealed and failed adequately to disclose material facts as described
above.

28. Quality Distribution is the registrant for the IPO. The defendants named herein
were responsible for the contents and dissemination of the Registration Statement and the
Prospectus.

29. As issuer of the shares, Quality Distribution is strictly liable to plaintiff and the
Claas for the misstatements and omissions.

30. None of the defendants named herein made a reasonable investigation or
possessed reasonable grounds for the belief that the statements contained in the Registration
Statement and the Prospectus were true and without omissions of any material facts and were not
misleading,

31. Defendants issued, caused to be issued and participated in the issuance of
materially false and misleading written statements to the investing public that were contained in

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the Prospectus, which misrepresented or failed to disclose, intar alig, the facts set forth shove.
By reasons of the conduct herein alloged, each defendant violated, and/or controlled a person
who violated, Section {1 of the Seourities Act.

32. Plaintlf¥ acquired Quality Distribution shares traceable to and in reliance on, the
Registration Statemesit,

33. Plaintiff and the Class have sustained damages. The value of Quality Distribution
shares has declined substantially subsequent to and due to defendants’ violations,

34.  Atthe times they purchased Quality Distribution shares, plaintiff and other
members of the Class were without knowledge of the fects concerning the wrongful conduct
alleged herein and could not have reasonably discovered those facts prior to February 2, 2003.
Less than two years elapsed from the time that plaintiff discovered or reasonably could have
discovered the facts upon which this complaint is based to the time that plaintiff filed this
Complaint. Less than five years clapsed between the time that the securities upon which this
Count is brought were offered to the public and the time plaintiff filed this Complaint.

COUNT D
Against The Individual Defendants For

35. Plaintiff repeats and realleges each and every allegation contained above.
36. This Count is brought pursuant to Section 15 of the Securities Act against the
Individual Defendants.

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37. Bach of the Individual Defendants was a contro! person of Quality Distribution
by virtue of their position as directors and/or sonlor officers of Quality Distribution. The
Individual Defendants each bad 2 sories of direct and/or indirect business and/or personal
relationships with other directors and/or officers and/or major shareholders of Quality
Distribution.

38. Bach of the Individual Defendants was a culpable participant in the violations of
Sections !1 of the Securities Act alleged in Count I above, based on their having signed the
Registration Statement and having otherwise participated in the process which allowed the IPO

to be successfully completed.

PRAYER FOR RELIEF
WHEREFORE, plaintiff, on behalf of himself and the Class, prays for judgment as

follows:

(a) declaring this action to be e class action property maintained pursuant to Rule
23(a) and (b)(3) of the Faderal Rules of Civil Procedure;

(bo) ewarding plaintiff and other members of the Class damages together with
interest thereon;

(c) awarding plaintiff and other membars of the Class their costs and expenses of
this litigation, including reasonable attorneys’ fees, accountants’ fees and experts’ fees and other
costs and disbursements; and

(d) awarding plaintiff and other members of the Class such other and further
relief as may be just and proper under the circumstances.

Case 2 Od .cv-00961-RAI Document 2 am_ = led OA/228/04 Page 31 of 45 PagelD 29

GURY TRLAL DEMANDED
Plaintiff hereby demands a trial by jury.
Dated: Februsry 25, 2004

CAULEY GELLER BOWMAN
&R 1 LLP

By:

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M. Stain
Fis. Bar Ne. 009784
Jack Relse
Fila. Ber Ne. 088140
197 Sauth Federe! Highway
Suite 200
Bocs Raton, FL $3432
elegans: (561) 750-3000

Samuel H. Rudman

Devid A. Rosenfeld

Marie Alba Ir.

200 Broadhollow Road, Suite 406
Melville, NY 11747

Telephone: (631) 367-7100

SCHIFFRIN & BARROWAY, LLP
Mare Topaz

Thres Bala Plazas East, Suite 500

Bais Cynwyd, PA 19004

Telephone: (610) 667-7706

Attorneys for Pisintiff

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UNITED STATES DISTRICT COURT

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Plaintiff,
CLASS ACTION
ve. . COMPLAINT
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QUALITY DISTRIBUTION, INC,, THOMAS L, ' FEDERAL SECURITIES
FINKBINER and SAMUEL M. HENSLEY, ‘ LAWS

PLAINTIF?’£ CLASS ACTION COMPLAINT

Plaintiff makes the following allegations, except es to allegations specifically pertaining
to plaintiff and plaintiff's counsel, based upon the investigation undertaken by plaintiff’s counsel,
which investigation included analysis of publicly-available news articles and reports, public
filings, securities analysts’ reports and advisories about Quality Distribution, Inc. (“Quality
Distribution” or the “Company”, press releases and other public statements issued by the
Company, and media reports about the Company and believes that substantial additional
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Pp “ EXHIBIT

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NATURE.OF THE.ACTION

1. This is a federal securities class action on behalf of a class (the “Class”) consisting

of all persons other than defendants who purchased the common stock of Quality Distribution
between November 7, 2003 and Pebruary 2, 2004, seeking to pursue remedies under the
Securities Act of 1933 (the “Securities Act”). This action concerns the initial public offering of

Quality Distribution common stock which took place on or about November 7, 2003 (the “IPO”).

IURISDICTION AND VENUE
2. The claims asserted herein arise under and pursuant to Sections 11 and 15 of the

Securities Act [15 U.S.C. §§ 77k, 771(2) and 770}.

3, This Court has jurisdiction of this action pursuant to Section 22 of the Securities
Act [15 U.S.C. § 77v] and 28 U.S.C. § 1331.

4. Venue is properly laid in this District pursuant to Section 22 of the Securities Act
and 28 U.S.C. § 1391(b) and (c). The acts and conduct complained of herein ocurred in
substantial part in this District and Quality Distribution maintains its principal place of business
in this District.

5. In connection with the sots and conduct alleged in this Complaint, defendants,
directly or indirectly, used the means and instrumentalities of interstate commerce, including the
mails and telephonic communications and the facilities of the NASDAQ National Market (the
“NASDAQ"), a national securities exchange.

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PARTIES
6. Plaintiff Sondre Cochran purchased Quality Distribution comunon stock, as set

forth in the certification attached hereto and incorporated herein by reference, traceable to the
Company's IPO, and was damaged thereby.

7. Defendant Quality Distribution ts a Florida corporation and maintains its principal
executive offices at 3802 Corporex Park Drive Tampa, Florida 33619. Quality Distribution
transports a broad range of chemical products and also provides transportation management,
transloading, tank cleaning, dry-bulk handling and other logistical services.

8. (a) Defendant Thomas L. Finkbiner (“Finkbiner”) was, at al) relevant times,
President and Chief Executive Officer of Quality Distribution. Finkbiner signed the Registration
Statement.

(b) Defendant Samuel M. Honsley (‘Hensley’) was, at all relevant times,
Senior Vice President and Chief Financial Officer of Quality Distribution. Hensley signed the
Registration Statement.

(c) Defendants Finkbiner and Hensley are collectively referred to herein as the
“Individual Defendants.”

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PLAINTIER'S CLASS ACTION ALLEGATIONS
9 Plaintiff brings this action as 2 class action pursuant to Federal Rules of Civil

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of the defendants, any person, firm, trust, corporation, officer, director or other individual or
entity in which any defendant has « controlling interest or which is related to or affiliated with
any of the defendants, and the legal representatives, agents, affiliates, heirs, successors-in-interest
or assigns of any such excluded party.

10. The members of the Class are so numerous that joinder of all members is
impracticable. Quality Distribution sold more than 7 million shares of Quality Distribution
common stock in the IPO, The precise number of Class members is unknown to plaintiff at this
time but is believed to be in the thousands. In addition, the names and addresses of the Class
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Operating results for periods subsequent to 2003. Approximately two-thirds of the
restatement adjustment is expected to consist of non-cash charges.

The Company also expects to incur charges in the fourth quarter ended December
31, 2003, in connection with insurance regulatory issues arising from the
irregularities at PP1 and expects to incur edditional expenses in 2004 relating to
the investigation. The Company currently estimates these amounts, after giving
effect to potential recoveries, to be approximately $3 million to $6 million, which
will be paid starting in 2004,

The Company currently anticipates reporting audited 2003 results and prior year
restatements on a timely basis in accordance with its periodic filing requirements.
Fourth quarter 2003 reventes before fuel surcharges are expected to be up
approximately 10% compared to the fourth quarter of 2002. Fourth quarter net
Income will be impacted by the events at PPI and various non-recurring expenses,
primarily related to the initial public offering.

The above amounts remain subject to change pending completion of the
investigation and the audit of the Company's financial statements, which is

currently in process. (Emphasis added.)
24. At the time of the filing of this complaint, the price of Quality Distribution

common stock is $14.68! per share.

COUNTS
Against All Defendants Far Violations
Of Section 11 Of Tha Securition Act

25.  Plaintiffrepeats and reatleges each and every allegation contalned above.

26. This Count is brought pursuant to Section 11 of the Securities Act, 15 U.8.C. §
77, on behalf ofthe Class, against all defendants,

27. ‘The Registration Statement for the IPO was Inaccurate and misleading, contained
untrue statements of material facts, omitted to state other facts necessary to make the statements
made not misleading, and concealed and failed adequately to disclose material facts as described
above.

28. Quality Distribution is the registrant for the IPO. The defendants named herein
were responsible for the contents and dissemination of the Registration Statement and the
Prospectus.

29. As Issuer of the shares, Quality Distribution is strictly liable to plaintiff and the
Claas for the misstatemonts and omissions.

30. None of the defendants named hercin made a reasonable investigation or
possessed reasonable grounds for the belief that the statements contained in the Registration
Statement and the Prospectus were true and without omissions of any material facts and were not
misleading.

31. Defendants issued, caused to be issued and participated in the issuance of
materially false and misleading written statements to the investing public that were contained in

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the Prospectus, which misrepresented or falled to disclose, inter alla, the facts set forth above.
By reasons of the conduct herein alleged, each defendent violated, and/or controlled a person
who violated, Section 11 of the Securities Act.

32. Plaintiff soquired Quality Distribution shares traceable to and in reliance an, the
Rogistration Statement.

33, Plaintiff and the Class have sustained damages. The value of Quality Distribution
shares has declined substantially subsequent to and dus to defendants’ violations.

34. — At the times they purchased Quality Distribution shares, plaintiff and other
members of the Class were without knowledge of the facts concerning the wrongful conduct
alleged herein and could not have reasonably discovered those facts prior to February 2, 2003.
Less than two years elapsed from the time that plaintiff discovered or reasonably could have
discovered the facts upon which this complaint is based to the time that plaintiff filed this
Complaint. Less than five years elapsed between the time that the securitles upon which this
Count is brought were offered to the public and the time plaintiff filed this Complaint.

Against The Individual Defendants For
Violations of Section 16 of the Securitics Act

35. Plaintiff repeats and reallegos each and every allegation contained above.
36. ‘This Count is brought pursuant to Section 15 of the Securities Act against the
Individual Defendants.

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37. Each of the individual Defendants wes 9 control person of Quality Distribution
by virtue of their position as directors and/or senior officers of Quality Distribution. The
Individual Defendants each had a series of direct and/or indirect business and/or personal
relationships with other directors and/or officers and/or major shareholders of Quality
Distribution.

38. Each of the Individual Defendants was a culpable participant in the violations of
Sections 1{ of the Securities Act alleged in Count I above, based on their having signed the
Registration Statement and having otherwise participated in the process which allowed the IPO
to be successfully completed,

PRAYER FOR BELIEF

WHEREFORE, plaintiff, on behalf of himself and the Class, prays for judgment as
follows:

(a) declaring this action to be a class action properly maintained pursusnt to Rule
23(a) and (6X3) of the Federal Rules of Civil Procedure;

(b) awarding plaintiff and other members of the Class damages together with
interest thereon;

(co) awarding plaintiff and other members of the Class their costs and expenses of
this litigation, including reasonable attorneys’ fees, accountants’ fees and experts’ foes and other
costs and disbursernents; and

(d) awarding plaintiff and other members of the Class such other and further
relief as may be just and proper under the circumstances.

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IURY TRIAL DEMANDED
Plaintiff hereby demands a trial by jury.
Dated: April 14, 2004
CAULEY GELLER BO

& RUDMAN, LLP

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Attorneys for Plaintiff

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RLAINTIF'S CERTIFICATION

1, Ors.) Sones Coptren _____, ("Phalatift”) declare under penalty of perjury, a2 to the
Chain asserted under the federal securities laws, that:

1.  Phalatiff’kgn reviewed the complains end authorized the commencensent of an action on
Phaictift's behalf,

2.  Plalatiff did not purchase the cpourity thet is the subject of this ection at the direction of
plaintiff's commsel or tn order to participate in this private action.

3. Phalrstiff’ls willing ta serve as 8 representative party on bohalfof the class, including

providing testimony &t deposition snd trial, necessary.
4.  Pieintiff's transactions in Quality Distribution securitica during the Clase Feriad specified
tm the Cosmpisint ave as foticrws:
ee icf Share: Purchased tof Shares Seld Fria
11-06-2003 2,950 0 17.00

$. Daring the three years prior to the date of this Certificate, Plaintiff has not sought to serve
or served af a representative purty for a class in an action filed under the federal securities laws. (Or,
Plaiatlff hes served as 0 clans representative in the action(s) listed below:]

6.  Piaitiff wil not acoept any payment for serving 22 « representative party on bobalf of the
clses beyond tho Pislatiff's pro rate share of any recovery, except puch reasonable come end expenses
(uclading Jost wages) directly relating to the representation of the clues a8 ordered or approved by the
court,

1 declare under penalty of perjury thet the foregoing is true and correct, Bxeouted thle 20th day

Of February, 3004.
penton Santa 0. Codde

Address: 730 Lantern Lane
State, Zip Code: Blue Ball, PA 19433
County: Montgomery

